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        Exhibit 1
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Principles and Procedures for Responding to Matters of Faculty
Conduct
The Harvard Business School community aspires to be a model of leadership, honor, and
integrity. Toward this end, we have adopted various principles and policies to guide our
conduct. The most comprehensive is our statement of Community Values. This document
defines a set of principles that all stakeholders of the School—students, program participants,
faculty, staff, and alumni—accept and agree to abide by when they join the HBS community.
These principles, also referred to as our Community Standards, are the following:

    •   Respect for the rights, differences, and dignity of others
    •   Honesty and integrity in dealing with all members of the community
    •   Accountability for personal behavior

Other policies and guidelines—some of which are faculty-specific, others of which are HBS-
wide or Harvard-wide—cover a broad range of topics and activities such as the use of human
subjects, intellectual property, conflict of interest, use of Harvard name, and non-retaliation.1
Adhering to these policies and guidelines is the responsibility of each and every faculty member.

Faculty members at HBS are also expected to contribute actively to the HBS community, to help
foster an environment conducive to the work of others, and to advance the School's mission and
the activities that support and foster it.2 Faculty members at HBS thus bear a responsibility to
adhere to the highest standards of collegiality and conduct, understanding that activities or
behaviors that undermine the academic environment or damage the standing of Harvard have a
wide-ranging impact.

From time to time, concerns about the behavior of an individual faculty member may be raised.
It is expected that many, if not the majority, of these concerns can be resolved informally among
the individuals involved, or locally (e.g., within a department or unit). There are resources
available to help in these situations, depending on the nature of the issue at hand, and support
may be sought from staff in the Division of Research and Faculty Development, Human
Resources, and the Office of the Dean, as well as from faculty colleagues.

In some instances, however—for example, instances of egregious behavior or actions, or
incidents that indicate a persistent and pervasive pattern of problematic conduct—a more
structured procedure may be needed to investigate the concern and determine whether
misconduct has occurred.3 Here, the Dean may choose to refer the allegation to a Faculty
Review Board (FRB).


1
  See, for example, General and Research Policies for HBS faculty members and Harvard University Policies.
2
  Consistent with the School's Policies and Procedures with Respect to Faculty Appointments and Promotions
(revised Spring 2013), pages 6 and 9.
3
  Allegations of research misconduct or violations of sexual and gender-based harassment policies are covered,
respectively, by the Research Integrity Policy and the Harvard University Sexual and Gender-Based Harassment
Policy.


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Faculty Review Board Procedure

In situations where a more structured procedure may be needed to investigate a concern and
determine whether misconduct has occurred, as noted, the Dean may refer an allegation to the
Faculty Review Board.4 The FRB typically will comprise a faculty chair, two additional faculty
members, and a senior staff member, all appointed by the Dean. The FRB Procedure includes:

    •    A summary of the allegation, as it is known at the time, will be written by the Chair of
         the FRB.
    •    The FRB, aided in some instances by a fact finder, will investigate the allegation. The
         investigation may require factual inquiry, interviews, and the review of materials (e.g.,
         documents, email exchanges, social media).
    •    The FRB will prepare a draft report that should include the evidence gathered; comments
         on the seriousness of the offense, including the FRB's conclusions on whether
         misconduct has occurred; and potential recommendations for redress or remediation of
         the incident or behavior, including possible sanctions.5

The faculty member and, if applicable and appropriate, the person making the allegation will
have an opportunity to review the allegation, the evidence gathered, and the draft report, and to
respond in writing. Additionally, both parties can designate a member of the community as an
advisor—someone to accompany them to any meetings or interviews, for example, or review
written materials. These individuals may not be family members, subordinates, or attorneys,
though both parties can consult with any of these individuals at any time. Advisors are expected
to respect the confidentiality of the process.

While the work and activities of the FRB are considered private, the FRB may, in the course of
its proceedings, need to inform or solicit input from others—including faculty members (e.g.,
colleagues or a Unit Head), staff members (e.g., in Human Resources), other Harvard offices
(e.g., the General Counsel), students, and alumni.

The report, including recommendations, will be considered final once the FRB has reviewed
written responses and once modifications and edits, if the FRB deems them appropriate or
necessary, have been made. Once the report is finalized, it will be submitted to the Office of the
Dean, along with any responses (to the allegation and to the report) that have been received.

The Dean is responsible for finalizing any sanctions. The Office of the Dean is responsible for
implementing any recommendations and sanctions and will maintain records of the proceedings.

The FRB procedure is designed to be flexible, recognizing the need to weigh multiple factors
such as the nature and seriousness of the conduct in question, the supporting evidence, and any

4
  These may include concerns where the evidence is unclear or conflicting, where complexity is a factor, or where
the allegation or its impact is deemed serious—for example, the ongoing violation of policies or guidelines, physical
violence or the threat of physical violence, or repeated disrespectful behavior or abuse of authority.
5
  See the section on "Notes on Promotions, Reviews, and Reappointments" for a fuller description of how conduct
will be assessed when faculty members are under review by an Appointments Subcommittee or Standing
Committee.


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mitigating factors and circumstances. At the same time, the FRB procedure aims to provide a
framework to allow an appropriate resolution of concerns in a wide variety of circumstances.

The following principles and considerations shall guide those carrying out the FRB procedure:

   •   Every reasonable effort should be made to protect the reputations of the individuals
       involved.
   •   The faculty member being reviewed by the FRB and the individual raising the concern
       should be kept informed throughout about the steps of the process and the anticipated
       time line.
   •   Privacy and confidentiality are important considerations; information generally should be
       shared only on a need-to-know basis, and consistent with what is practicable.
   •   Allegations should be articulated in writing and evidence presented clearly.
   •   Recognizing that it can be difficult to anticipate every circumstance that may arise, the
       individuals responsible for administering the FRB procedure will use their best efforts
       and judgment.

Notes on Promotions, Reviews, and Reappointments

   •   The Senior Associate Dean for Faculty Development will meet annually or as otherwise
       needed with the Chair of the FRB and the Executive Dean for Administration to discuss
       whether concerns about conduct have been raised for upcoming candidates for
       promotion, review, and reappointment.
   •   In this meeting, the FRB Chair and Executive Dean would report on any earlier
       complaints raised against the candidate and the outcome of local resolution or the FRB
       investigation. In addition, the FRB and Executive Dean may seek and report on
       confidential input—from faculty colleagues, staff, students, alumni, or others—about
       concerns about the candidates that were not previously reported.
   •   If no serious questions about conduct are raised, the promotion, review, and
       reappointment case will proceed to the Subcommittee or Standing Committee. For cases
       where previous or current conduct raises a question of whether the candidate meets the
       School's criteria for "Effective Contributions to the HBS Community," the FRB will be
       asked to undertake a review, beginning with drafting an allegation as outlined above. In
       these cases, the Subcommittee or Standing Committee will begin its work evaluating the
       candidate on the criteria excluding colleagueship and adherence to Community Values.
   •   The FRB's conclusions on whether a candidate has upheld the School's Community
       Values will be provided to the Appointments Subcommittee or Standing Committee, and
       included with that group's report to the full Appointments Committee. In these cases, the
       Subcommittee or Standing Committee will prepare its report and recommendation,
       including its vote, based on the criteria excluding colleagueship and adherence to
       Community Values.

Additional Notes

Concerns about faculty conduct may be brought forward by individuals or by groups of
individuals, and concerns may arise from individuals within HBS, from within Harvard, or from


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outside (e.g., from people unaffiliated with Harvard). Generally, individuals should raise their
concerns with whomever they feel most comfortable speaking. Members of the community
designated to receive concerns about conduct include:

Jean Cunningham
Office of the Dean
5.6216 | jcunningham@hbs.edu

Ellen Mahoney
Office of Human Resources
5.6758 | emahoney@hbs.edu

Valerie Porciello
Division of Research and Faculty Development
5.6116 | vporciello@hbs.edu

This policy, once adopted, should be reviewed and revised as needed a year after
implementation, and no less frequently than every three years thereafter.


Last revised 28 April 2015




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